                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
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JANE DOE, a minor, by her parents and next
friends, JOHN DOE and JILL DOE,

                Plaintiff,

        v.                                                  Case No.: 24-CV-354

ELKHORN AREA SCHOOL DISTRICT and
JASON TADLOCK, in his individual capacity.

            Defendants.
______________________________________________________________________________

    DEFENDANTS’ RESPONSE TO PLAINTIFF’S NOTICE OF SUPPLEMENTAL
                                 AUTHORITY
______________________________________________________________________________

        Plaintiff has provided the Court with a notice of the Seventh Circuit’s recent decision in

D.P. ex rel. A.B. v. Mukwonago Area School District, No. 23-2568, slip op. (7th Cir. June 12,

2025) [ECF 73-1]. Plaintiff’s notice, however, violates Civil L. R. 7(k) because a “Notice of

Supplemental Authority may not contain any argument.” Defendants, Elkhorn Area School

District and Jason Tadlock, ask the Court to disregard the improper argument contained in

Plaintiff’s notice.

        To the extent that the Court considers these arguments, Defendants respond that D.P. in no

way “fatally undermines” Defendants’ arguments in their brief in opposition to Plaintiff’s motion

for partial summary judgment [ECF 60] and motion to vacate preliminary injunction [ECF 61].

DP focused on the school district’s procedural argument primarily focusing on the district court’s

decision to forgo a hearing before issuing the preliminary injunction. [ECF 73-1, p. 2]. While the

Seventh Circuit declined to revisit Whitaker and Martinsville, it did not address or consider most

of the arguments raised by Defendants in this case.




        Case 2:24-cv-00354-JPS         Filed 06/13/25      Page 1 of 2     Document 74
       The Mukwonago School District simply argued that Whitaker and Martinsville were

wrongly decided or were factually different. The district did not argue, and the Seventh Circuit

did not consider, the interplay of the Trump Executive Orders, whether the Executive Orders

changed the current state of the law, or the Spending Clause. There was also no argument or

consideration of the impact of the federal government’s Title IX interpretation and enforcement

practices against school districts whose policies align with the terms of the preliminary injunction

currently in place with this case. Even though D.P. did not overrule prior Seventh Circuit

precedent, it does not foreclose Defendants’ arguments against summary judgment or for vacating

the preliminary injunction.

       Dated this 13th Day of June, 2025.

                                              STADLER SACKS LLC
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                                                 2

        Case 2:24-cv-00354-JPS          Filed 06/13/25      Page 2 of 2     Document 74
